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     August 2, 2021                                                                                   File No. 50031.1618




     VIA CM/ECF AND E-MAIL

     Honorable Victor Marrero
     United States District Court
     Southern District of New York
     500 Pearl Street, Suite 1610
     New York, New York 10007
     Email: ChambersNYSDMarrero@nysd.uscourts.gov

              Re:       Reid v. Sack et. al. - Civil Action No. 20-01817

     Dear Judge Marrero:

             We represent the defendants in the above referenced matter. In accordance with the Court’s
     Individual Practices, defendants hereby respectfully submit a proposed Revised Civil Case
     Management Plan and Scheduling Order. This is the first request for revision by the defendants and
     the plaintiff has consented through his counsel.

             We are making this request because plaintiff’s underlying arbitration against his former
     employer has settled in principle. In defendants’ view, plaintiff’s recovery in the arbitration will impact
     the damages he is seeking to recover from the defendants in the instant suit. Rather than seeking
     a stay of this matter pending the resolution of the arbitration, counsel for the parties agreed to extend
     various discovery deadlines in the instant action while the settlement of the arbitration is being
     finalized. These extensions are reflected in the enclosed proposed Revised Civil Case Management
     Plan and Scheduling Order.

                                                             Respectfully Submitted,

                                                             /s/ Jamie R. Wozman

                                                             Jamie R. Wozman of
                                                             LEWIS BRISBOIS BISGAARD & SMITH LLP
     JRW
     Enclosure
     cc:   All Counsel of Record (via CM/ECF)
           Chester R. Ostrowski, Esq. (via e-mail)
           costrowski@mclaughlinstern.com


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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
··---------------··-·-·---·----·-------------------------------------X
   BRUCE J. REID,

                                               Plaintiff(s),
                                                                              20         01817 (VM)
                                                                                    Civ. ___
                   - against -
    JONATHAN S. SACK, MICHAEL                                            REVISED CIVIL CASE MANAGEMENT PLAN
    H. MUI, and SACK & SACK,                                               AND SCHEDULING ORDER
                                                Defendant(s).
    LLP
---------------------------------------------------------------------X
This Scheduling Order and Case Management Plan is adopted in accordance with Fed. R. Civ. P. 16-26(f).

1.       This case (is)(is not) to be tried to a jury: [circle one]

2.                                                           March 19, 2021
         Joinder of additional parties to be accomplished by ________

3.       Amended pleadings may be filed without leave of the Court until ___     _____
                                                                          March_19, 2021 _

4.       Initial disclosure pursuant to Fed. R. Civ. P. 26(a)(I) to be completed within fourteen ( 14) days of the date of
         the parties' conference p ursuant to Rule 26(f),                       specifically by not later than
               March 19, 2021

5.       All fact discovery is to be completed either:

         a.       Within one hundred twenty (120) days of the date of this Order, specifically by not later than
                    November 24,2021
                  _____       ________; or

         b.        Within a period exceeding 120 days, with the Court's approval, if the case presents unique
                   complexities or other exceptional circumstances, specifically by not later than ______

6.       The parties are to conduct discovery in accordance with the Federal Rules of Civil Procedure and the Local
         Rules of the Southern District of New York. The following interim deadlines may be extended by the parties
         on consent without application to the Court, provided the parties are certain that they can still meet the
         discovery completion date ordered by the Court.

         a.                                                                       March 26, 2021 _____
                   Initial requests for production of documents to be served by ________

         b.                                                       May 18, 2021
                  Interrogatories to be served by all party by ___________________

         c.                                          September
                   Depositions to be completed by ____  ___30,  2021 _____________
                                                               ___

                   1.       Unless the parties agree or the Court so orders, depositions are not to be held until all parties
                            have responded to initial requests for document production.

                   11.      Depositions of all parties shall proceed during the same time.

                   iii.     Unless the parties agree or the Court so orders, non-party depositions shall follow party
                            depositions when possible.


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                                           October 6, 2021




                December 22, 2021

                 January 19, 2022



                     Motion for Summary Judgment
                       Motion for Stay and Motion for Summary Judgment


                        February 3, 2022



                                           X
